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 8                          UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
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11      UNITED STATES OF AMERICA,                   )     Case No. 19CR4488-JLS
                                                    )
12                   Plaintiff,                     )
                                                    )     ORDER CONTINUING
13            vs.                                   )     MOTION HEARING/TRIAL
                                                    )     SETTING AND EXCLUDE
14      MICHAEL PRATT (1),                          )     TIME
                                                    )
15                Defendant.                        )
        _______________________________             )
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17          Pursuant to joint motion [Doc No. 422), and good cause shown, IT IS
18    HEREBY ORDERED that the Motion Hearing/Trial Setting shall be continued from
19    July 26, 2024, to September 6, 2024, at 1:30 p.m.
20          For the reasons set forth in the joint motion, the Court finds that the ends of
21    justice will be served by granting the requested continuance, and these outweigh the
22    interests of the public and the defendant in a speedy trial. Accordingly, the delay
23    occasioned by this continuance is excludable pursuant to 18 U.S.C. § 3161(h)(7)(A).
24          IT IS SO ORDERED.
25
26          07/19/2024
      DATED:_____________                   _________________________________
                                            Honorable Janis L. Sammartino
27                                          United States District Judge
28
     ______________________________________________________________________________
                                                                           19CR4488-JLS
